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                      Exhibit 10
   MRS L 001854-19 10/11/2019 Pg 1 of 3 Trans ID: LCV20191862657
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Case          ·--· ·-
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101 California Street, 5th Floor
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San Francisco, California 94111
(415) 693-2000              4-b;t{ ftr-l'c!
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Attorneys for Defendant Turo Inc.

                                                                        SUPERIOR COURT OF NEW JERSEY
PEOPLE OF THE STATE OF CALIFORNIA,                                      LAW DIVISION: MORRIS COUNTY
et al.,
                                                                        Case No.             /M /2.{ -               ~ - ttfr f- 11
                Plaintiffs,
                                                                                              Civil Action
vs .                                                                                     (Miscellaneous Action)
TUROINC.,
                                                                        ORDER GRANTING MOTION
                Defendant.                                              RELATED TO A SUBPOENA ISSUED
                                                                        UNDER R. 4:11-4(B)


        TIDS MATTER having been opened to the Court by Chiesa Shahinian & Giantomasi PC

and Cooley LLP, counsel for defendant Turo Inc. ("Turo") for entry of an order pursuant to

R. 4: l 1-4(b) and R. 4:23-5(c) compelling Avis Budget Group ("Avis") to produce to Turo the

documents requested in Turo's subpoena duces tecum and ad testificandum to Avis, served on

March 4, 2019 (the "Subpoena"); and the Cou1t having considered the papers submitted in supp01t

of the motion and any pape~s
                         subm · ed in opposition thereto, and for good cause shown;

       IT IS on this
                          //~            0,.c7b~
                                day of Septn11':r:r 2019,                 0
       ORDERED as follows:

        I.      Turo's motion to compel is hereby GRANTED.
             ·--I . . .
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       2.          Avis shall produce to Turo all documents responsive to the following demands,
  4-,,td l('-)Cl'v1D·1 ~         7-C> t!iJ.
frbm/(013 to present, within}!days of this order (capitalized terms are defined in the

Subpoena):

                (a)        Revised Request No. 3(a): COMJ\1:UNICATIONS with the CITY

                           CONCERNING which SFO rules, regulations, and/or permit terms and

                           fees apply to TURO and/or other PEER-TO-PEER CAR SHARING

                           PROGRAMS.

                (b)        Revised Request No. 3(b): COMMUNICATIONS and DOCUMENTS                                     ,
                  lV 1Gh        Q4_f? &:f:i1 ~/~ (i2uA..dt0ah~ ,td;t, t,ff
             ~ a t reference phon~ calls, meetings, or other con:imuni'if"ons YOU

                           have had with the CITY CONCERNING TURO. This request excludes

                           COMMUNICATIONS and DOCUMENTS that show on their face that

                           they were ~xchanged with the CITY.
                                                                         J:,t.i1t>/Ul-~
                                                                                  .     e       , JJ
                                                                                                     11-vl:S/J
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                                   t!'tlU~tA.,t,,u~-ilZ..-t,tYLxµ            If.A:.~        Jt.(J~~.
                (c)        Revised Request No. 6: DOCUMENTS and COMMUNICATIONS
                ~..?tlM.--V-d            (}A, C-1},,t,,u,tu,i.,1 /C..4"{-Te~71>       Uk C I 7'l
                           CONeERNING whether TURO is or is not a rental car company, and
                                                                                                         ~~tJ
                           whether TURO is comparable to a rental car company in terms of

                          • business model,,featur,es, or customer offerings.          -::r;.,U.l.iiJi,:;z;,iJ! ~ ~--
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                (d)        Revised Request No. 7: DOCUMENTS sufficient to identify the

                           existence of any pick-up and/or drop-off service that YOU offer or have

                           offered to customers at SFO terminals since 2013. If Avis can provide

                           the names of such services or programs, Turo will consider withdrawing

                           the rest of this request.




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                         (e)




                         (f)         Revised Request No. 13: COMMUNICATIONS between AVIS and the

                                     CITY CONCERNING curbside or roadway congestion caused by any

                                     pick-up or drop-off service that A VIS offers or has offered customers at

                                     SFO's terminal curbsides since 2013.                                  ,

        3.               The movant shall serve a cop; of this orde                               ~ I counse
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days of receipt of the order.
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This    ~was:
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_ :7n
   _ O~pp~~o:sed
_ _ Unopposed

The C.9u~'s decision was:
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~ 1 and placed on the record on _ _/--ro/-/,/ ,_,_'_/ff...._7_ _          7
